8:17-cr-00014-RFR-MDN                Doc # 37   Filed: 06/06/17      Page 1 of 1 - Page ID # 100



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                        8:17CR14

        vs.
                                                                           ORDER
OPAL HARRIS,

                       Defendant.


        This matter is before the court on defendant's SECOND UNOPPOSED MOTION TO
EXTEND PRETRIAL MOTION DEADLINE [35]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 90-day extension. Pretrial Motions
shall be filed by September 5, 2017.


        IT IS ORDERED:
        1.     Defendant's SECOND UNOPPOSED MOTION TO EXTEND PRETRIAL
MOTION DEADLINE [35] is granted.            Pretrial motions shall be filed on or before September 5,
2017.
        2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and September 5, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 6th day of June, 2017.

                                                       BY THE COURT:

                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
